       CASE 0:24-cv-02654-JWB-DTS            Doc. 15     Filed 11/14/24     Page 1 of 7




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


In Re: Granulated Sugar                                       MDL No. 24-3110 (JWB/DTS)
Antitrust Litigation

                                                           PRETRIAL ORDER NO. 5:
                                                           Scheduling Order


       Pursuant to Pretrial Order No. 1: Establishing Procedures and Setting Initial

Pretrial Conference (Doc. No. 29), Defendants United Sugar Producers & Refiners

Cooperative, American the Sugar Refining, Inc., ASR Group International, Inc., Domino

Foods, Inc, Cargill, Incorporated, and Michigan Sugar Company and all Plaintiffs

(collectively, “the Parties”) submitted a Joint Proposed Case Management Order for the

consolidated Direct Purchaser Plaintiffs (“Directs”), Commercial Indirect Purchaser

Plaintiffs (“Commercials”) and Consumer Indirect Purchaser Plaintiffs (“Consumers”)

related actions (the “Cases”).

       After carefully considering the Parties’ submissions, pursuant to the Local Rules

of the District of Minnesota and Rule 16 of the Federal Rules of Civil Procedure, and in

the interests of justice, efficiency, and fairness, it is hereby ordered that the following

schedule shall govern this Consolidated Action. The schedule may be modified only upon

formal motion and a showing of good cause as required by Local Rule 16.3. Unless

otherwise specified below, the Parties are directed to comply with the Federal Rules of

Civil Procedure and the Local Rules of this Court.
     CASE 0:24-cv-02654-JWB-DTS          Doc. 15    Filed 11/14/24     Page 2 of 7




1.   Proposed Protective Order

     On or before December 16, 2024, the Parties shall submit a comprehensive joint
     Proposed Protective Order that will address claims of privilege or protection of
     trial-preparation materials in the Cases as well as a joint Proposed Fed. R. Evid.
     502(d) Order. If the Parties cannot reach agreement on discrete issues, the Parties
     may submit joint reports identifying the areas of disagreement and briefly
     outlining their positions.

     No communication among Plaintiffs’ counsel or among Defendants’ counsel shall
     constitute a waiver of any privacy or protection to which they would otherwise be
     entitled.

2.   Proposed ESI Order

     On or before December 16, 2024, the Parties shall submit a joint Proposed
     Electronically Stored Information and Document Preservation Order (“Proposed
     ESI Order”). If the Parties cannot reach agreement on discrete issues, the Parties
     may submit a joint report identifying the areas of disagreement and briefly
     outlining their positions.

     Pursuant to Pretrial Order No. 1, each party shall preserve all documents and other
     records, including electronic information, containing information potentially
     relevant to the subject matter of this litigation. (Pretrial Order No. 1, XIII.)

3.   Initial Pleadings and Disclosures

     As stated in Pretrial Order No. 4, Plaintiffs must file a Consolidated Complaint on
     or before December 9, 2024. All discovery shall remain stayed pending the filing
     of the Consolidated Complaint.

     Service in the Cases (including service of all Consolidated Complaints, pleadings,
     motions, discovery requests, discovery responses, etc.) shall be effectuated by
     either ECF filing or email to Counsel of Record. On or before December 9, 2024,
     Plaintiffs must confirm service of process has been made on Defendants
     Commodity Information Inc. and Richard Wistisen.

     Initial disclosures required by Fed. R. Civ. P. 26(a)(1) shall be completed on or
     before January 8, 2025.

     Defendants’ deadline to answer or otherwise respond to Plaintiffs’ Consolidated
     Complaint is February 7, 2025. If a Motion to Dismiss is filed, Opposition briefs



                                           2
     CASE 0:24-cv-02654-JWB-DTS          Doc. 15    Filed 11/14/24    Page 3 of 7




     are due March 10, 2025. Reply briefs are due March 25, 2025. Surreplies are not
     permitted without leave of Court.

4.   Discovery

     The deadline for commencement of rolling production of documents is 60 days
     after the Order on Defendants’ Motion to Dismiss.

     The deadline to submit Deposition Protocols is 75 days after the Order on
     Defendants’ Motion to Dismiss.

     The deadline for production of Structured Data is 90 days after the Order on
     Defendants’ Motion to Dismiss.

     Substantial completion of all fact discovery is 1 year after the Order on
     Defendants’ Motion to Dismiss.

     Completion of all fact discovery is 15 months after the Order on Defendants’
     Motion to Dismiss.

     The deadline for filing motions to amend the Consolidated Complaint or adding
     new parties is 60 days prior to the deadline for substantial completion of fact
     discovery.

5.   Status Reports

     As stated in Pretrial Order No. 4, both the Plaintiffs’ Steering Committee (“PSC”)
     and Defendants’ Steering Committee (“DSC”) shall provide periodic status reports
     to the Court every 3 months (January 15th/April 15th/July 15th/October 15th) or
     as otherwise directed, detailing progress on case management, discovery,
     settlement discussions, and any other matters of importance in this litigation.

6.   Annual Reapplication Requirement

     As stated in Pretrial Order No. 4, all PSC and DSC appointments are for a
     one-year term, which started on October 30, 2024. Each attorney/firm must
     reapply annually to ensure continued dedication, alignment with litigation needs,
     and adherence to the standards issued by the Court. All applications to renew
     Steering Committee appointments must be filed on or before September 15, 2025.




                                           3
     CASE 0:24-cv-02654-JWB-DTS        Doc. 15     Filed 11/14/24    Page 4 of 7




7.   Class Certification and Expert Discovery

     The deadlines for Class Certification, all Expert Discovery, and Daubert Motions
     are as follows:
           Motions for Class Certification and Initial Expert Reports and Disclosures
           are due 30 days after the deadline for substantial completion of fact
           discovery.
           Class Certification Oppositions, Rebuttal Expert Reports and Disclosures,
           and any Daubert Motions by Defendants are due 45 days after filing
           Motions for Class Certification.
           Class Certification Reply briefs, Plaintiffs’ Reply Expert Disclosures,
           Daubert Opposition briefs, and Daubert Motions by Plaintiffs of Defense
           Experts (if applicable) are due 45 days after filing Class Certification
           Oppositions and Daubert Motions by Defendants.
           Defendants’ Daubert and Class Certification Replies and Defendants’
           Opposition to Plaintiffs’ Daubert Motion (if applicable) are due 21 days
           after Class Certification Reply briefs and Plaintiffs’ Daubert Motions.
           Plaintiffs’ Reply briefs in Support of Daubert Motions (if applicable) are
           due 14 days after Defendants’ Opposition to Plaintiffs’ Daubert Motions.
           All expert discovery, including depositions, must be completed on or before
           30 days after the date Rebuttal Expert Reports are due.

8.   Non-Dispositive Motions

     A.    Dates

           All non-dispositive motions relating to fact discovery must be filed and
           served within 21 days of the completion of all fact discovery.

           All other non-dispositive motions, including motions relating to expert
           discovery, must be filed and served within 21 days of the completion of all
           expert discovery.

     B.    Procedures for Discovery Disputes

           There is an informal and formal option for resolution of discovery disputes.
           The process utilized to resolve a particular dispute does not determine the
           process to be followed to resolve a subsequent dispute.


                                         4
CASE 0:24-cv-02654-JWB-DTS         Doc. 15    Filed 11/14/24     Page 5 of 7




     Informal Process
     To invoke the informal process, the parties must agree to use it.

     The parties schedule a telephonic hearing by calling the Judicial Assistant
     to Magistrate Judge Schultz at 612-664-5460. Once the moving party has
     secured a hearing date, it must promptly file a notice of motion informing
     all parties of the nature of the motion, the date, and time.

     If the parties agree to resolve the dispute through the informal process, each
     side shall submit to chambers at least 2 business days in advance, a letter
     up to 5 pages in length (Times New Roman, 12-pt. font with 1-inch
     margins), outlining their argument. Magistrate Judge Schultz will issue a
     decision at the time of the hearing and the parties agree that no appeal of
     the ruling will be taken.

     Formal Process
     Discovery disputes will not be heard unless the Parties have first met and
     conferred either in-person, telephonically, or by video and made a
     good-faith effort to settle their dispute, pursuant to revised Local Rule 7.1.
     If the parties are unable to resolve the dispute after good-faith efforts,
     the party raising the unresolved issue must secure a telephone
     conference date and time for both parties with Magistrate Judge
     Schultz before filing a formal motion. No filings on discovery motions
     will be considered by Magistrate Judge Schultz until he has addressed the
     matter via conference call.

     If a discovery motion is related to written discovery or the contents of
     depositions, the Parties must fill out a chart that describes each disputed
     discovery request and response, each Party’s position, and the moving
     Party’s last offered compromise. This chart must be in Word format and
     emailed at least three business days before the hearing to:
     Schultz_chambers@mnd.uscourts.gov. Failure to provide this chart will
     result in the cancellation of the hearing.

C.   Non-Discovery Non-Dispositive Motion Procedures

     All non-dispositive motions must be scheduled for hearing by calling the
     Judicial Assistant to Magistrate Judge Schultz at 612-664-5460 prior to
     filing, except when all Parties agree that no hearing is required. Such an
     agreement must be expressly set forth in the notice of motion. Once the
     moving party has secured a hearing date, it must promptly file a notice of
     motion informing all parties of the nature of the motion and the date, time,


                                     5
     CASE 0:24-cv-02654-JWB-DTS         Doc. 15     Filed 11/14/24    Page 6 of 7




           and location of the hearing, along with complete moving papers as required
           by Local Rule 7.1. A moving party may not call chambers to “hold” a
           motion date without filing complete moving papers as required by Local
           Rule 7.1 unless it receives prior permission from the Magistrate Judge.

           Counsel may not notice additional motions for hearing on an already
           existing hearing date without first contacting chambers for permission. All
           motions must be filed and served within the time periods set forth in this
           Order and the Local Rules.

9.   Dispositive Motions

     All dispositive motions and supporting pleadings shall be scheduled, filed, and
     served, no later than 30 days after Class Certification briefing is closed.

     The moving party shall first contact Judge Blackwell’s Courtroom Deputy by
     email at Blackwell_chambers@mnd.uscourts.gov to secure a hearing date.

     All dispositive motions shall be scheduled, filed, and served in compliance with
     the Electronic Case Filing Procedures for the District of Minnesota and in
     compliance with Local Rule 7.1, unless otherwise ordered.

     The moving party shall serve and file the following documents: (a) motion;
     (b) notice of hearing on motion; (c) memorandum of law, (d) affidavits and
     exhibits, and (e) meet and confer statement. Counsel shall email a proposed order
     in Word format to chambers at blackwell_chambers@mnd.uscourts.gov.

     Opposition briefs are due 45 days after the filing of the dispositive motion. The
     responding party shall serve and file the following documents: (a) memorandum
     of law, and (b) affidavits and exhibits.

     Reply briefs are due 30 days after the filing of opposition briefs. The moving
     party shall serve and file the following documents: (1) reply memorandum, or
     (b) a notice stating that no reply memorandum will be filed. A reply memorandum
     shall not raise new grounds for relief or present matters that do not relate to the
     response.

     When a motion, response, or reply brief is filed on ECF, one paper courtesy copy of
     the filing and all supporting documents shall be mailed or delivered to Judge
     Blackwell’s chambers, Warren E. Burger Federal Building and U.S. Courthouse,
     316 North Robert Street, St. Paul, Minnesota, 55101, at the same time as the
     documents are posted on ECF.



                                          6
      CASE 0:24-cv-02654-JWB-DTS          Doc. 15    Filed 11/14/24    Page 7 of 7




10.   Status Conferences

        As stated in Pretrial Order No. 4, Status Conferences will be held monthly with
Leadership counsel. The Status Conferences will be held in person in Courtroom 3B
(unless another Courtroom is designated), United States Courthouse, 316 N. Robert
Street, St. Paul, Minnesota. A Zoom link will be provided for Leadership counsel that do
not intend to speak. The parties must submit a Joint Proposed Agenda one week before
the scheduled Status Conference. The following dates are set for Status Conferences,
subject to change:

          o   Monday, December 16, 2024, at 1:00 p.m.
          o   Monday, January 27, 2025, at 11:00 a.m.
          o   Monday, February 24, 2025, at 1:00 p.m.
          o   Monday, March 24, 2025, at 1:00 p.m.
          o   Monday, April 28, 2025, at 1:00 p.m.
          o   Monday, May 19, 2025, at 1:00 p.m.
          o   Monday, June 23, 2025, at 1:00 p.m.
          o   Monday, July 28, 2025, at 1:00 p.m.
          o   Monday, August 25, 2025, at 1:00 p.m.
          o   Monday, September 29, 2025, at 1:00 p.m.
          o   Monday, October 27, 2025, at 1:00 p.m.
          o   Monday, November 24, 2025, at 1:00 p.m.
          o   Monday, December 29, 2025, at 1:00 p.m.

12.   The Court DIRECTS the Clerk of Court to send a copy of this Order to the Clerk
      of the Judicial Panel on Multidistrict Litigation, and counsel of record.



Date: November 14, 2024                         s/ Jerry W. Blackwell
                                                JERRY W. BLACKWELL
                                                United States District Judge




                                            7
